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 6   Plaintiffs’ Co-Lead Counsel
 7

 8                      UNITED STATES DISTRICT COURT
 9                   NORTHERN DISTRICT OF CALIFORNIA
10
     IN RE: NATIONAL FOOTBALL                 Case No.:
11   LEAGUE’S “SUNDAY TICKET”
     ANTITRUST LITIGATION                     (MDL Case No. 2:15-ml-02668-PSG
12                                            (JEMx); pending in C.D. Cal.)
13
                                              PLAINTIFFS’ NOTICE OF
14                                            MOTION AND MOTION TO
                                              COMPEL PRODUCTION OF
15                                            DOCUMENTS BY NON-PARTY
                                              GOOGLE LLC
16
                                              [REDACTED VERSION]
17
                                              Date:
18                                            Time:
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       PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF DOCUMENTS BY NON-PARTY GOOGLE LLC
        Case 5:23-mc-80213-NC Document 1 Filed 08/21/23 Page 2 of 18



 1           Please take notice that on a date and time to be determined by the Court,
 2   Plaintiffs will and hereby do move, pursuant to Federal Rule of Civil Procedure
 3   45(d), for an order compelling non-party and California resident Google LLC to
 4   produce certain documents requested in the Subpoena to Produce Documents in a
 5   Civil Action served upon it on March 30, 2023 by Plaintiffs in In re National Football
 6   League’s “Sunday Ticket” Antitrust Litigation, Case No. 2:15-ml-02668-PSG
 7   (JEMx), pending in the United States District Court for the Central District of
 8   California. In the alternative, Plaintiffs move to transfer the motion to the Central
 9   District of California pursuant to Fed. R. Civ. P. 45(d)(3)(A).
10           Plaintiffs move to compel Google to produce documents in the United States
11   District Court for the Northern District of California, which is the district of
12   compliance with the Subpoena pursuant to Rule 45(c)(2) of the Federal Rules of Civil
13   Procedure. Pursuant to Civil Local Rule 37-1, counsel met and conferred regarding
14   this motion on August 10, 2023.
15           Plaintiffs make this motion based on this Notice of Motion and Motion, the
16   accompanying Memorandum of Points and Authorities, the concurrently filed
17   Declaration of Tyler Finn in support thereof, the files and records in this case, and
18   any argument as may be presented at the hearing on the Motion.
19
         Dated: August 21, 2023               Respectfully submitted,
20

21                                            By:    /s/ Marc M. Seltzer
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        PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF DOCUMENTS BY NON-PARTY GOOGLE LLC
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        PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF DOCUMENTS BY NON-PARTY GOOGLE LLC
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.      INTRODUCTION
 3           Google, through its YouTube TV service, is the new exclusive provider of the
 4   NFL’s “Sunday Ticket” package. The exclusivity of the rights to that package is at
 5   the core of Plaintiffs’ claims in their underlying antitrust case against the NFL and
 6   its 32 teams about Sunday Ticket. Despite the centrality of Sunday Ticket to
 7   Plaintiffs’ claims, Google refuses to produce any meaningful discovery in response
 8   to Plaintiffs’ subpoena on the subject.
 9           Plaintiffs represent two certified classes of subscribers to Sunday Ticket that
10   seek not only monetary damages from the NFL and its member clubs, but injunctive
11   relief that will likely impact Google’s contract with the NFL for the rights to the
12   Sunday Ticket package. Since 2015, the case has proceeded as a multidistrict
13   litigation in the Central District of California. Trial is set for February 22, 2024. On
14   December 21, 2022, Google and the NFL reached an agreement that granted
15   Google’s subsidiary YouTube the exclusive distribution rights to Sunday Ticket
16   through the 2030 NFL season.
17           Google is not a party to the litigation but its status as rightsholder makes it
18   subject to any injunctive relief ordered by the MDL Court. And the terms of the new
19   Google-NFL agreement bear directly on Plaintiffs’ claims that the NFL has restricted
20   competition in the market for broadcasts of professional football games. The same is
21   true of the negotiations that preceded that agreement. In fact, the MDL Court has
22   twice held that discovery into those negotiations is relevant to the litigation. First, it
23   compelled the NFL to produce negotiation-related documents after the fact-discovery
24   cutoff. Second, recognizing that a new agreement would be signed after the close of
25   fact discovery, the MDL Court amended the schedule to allow Plaintiffs to seek
26   discovery from third parties like Google.
27           In accordance with those rulings, Plaintiffs served Google with a subpoena for
28   documents shortly after the deal between Google and the NFL was publicly
          PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF DOCUMENTS BY NON-PARTY GOOGLE LLC
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 1   announced. The subpoena seeks evidence of Google’s negotiations with the NFL on
 2   several subjects directly relevant to Plaintiffs’ claims, namely restrictions imposed
 3   by the NFL as to the retail price, package characteristics, and number of subscribers
 4   to Sunday Ticket.
 5            The parties then met-and-conferred for four months, during which Plaintiffs
 6   significantly narrowed the scope of the subpoena. Despite Plaintiffs’ repeated efforts
 7   at compromise, Google produced only three documents—summary presentations
 8   about its agreement with the NFL. The three documents are plainly relevant to
 9   Plaintiffs’ claims, but they do not even scratch the surface of relevant discovery.
10   Google nonetheless refuses to produce any more.
11            By this motion, Plaintiffs seek Google’s documents about the various
12   proposals and counterproposals exchanged with the NFL during the negotiation
13   period, which lasted approximately nine months. These documents will shed light on
14   the restrictions that the NFL places on Sunday Ticket that are not expressly reflected
15   in the YouTube agreement—for example the requirement that Sunday Ticket be sold
16   at a high price to fans. Plaintiffs have proposed a reasonable protocol to capture those
17   documents: a search of the electronic files of only six Google employees who took
18   part in the negotiations. But Google refuses to conduct any custodial searches. Given
19   Google’s proximity to this litigation, the relevance of the documents sought, and the
20   minimal burden associated with Plaintiffs’ request, this Court should compel Google
21   to do so. In the alternative, this Court should transfer this motion to the MDL Court,
22   which is more familiar with the issues and has adjudicated a number of similar
23   discovery motions.
24   II.      FACTUAL BACKGROUND
25            Plaintiffs bring this antitrust case against the NFL, its 32 member clubs, and
26   DirecTV based on a series of “interlocking agreements that work together to suppress
27   competition for the sale of professional football game telecasts in violation of
28
           PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF DOCUMENTS BY NON-PARTY GOOGLE LLC
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 1   Sections 1 and 2 of the Sherman Act.” Dkt. 894 1 at 2 (Class Certification Order).
 2   These agreements work two different, but symbiotic, restraints: they prohibit all
 3   distributors other than DirecTV (now YouTube) from offering telecasts of out-of-
 4   market Sunday afternoon NFL games, and they bar the clubs from separately
 5   licensing their own broadcast rights. Dkt. 441 (Second Consolidated Amended
 6   Complaint) ¶¶ 11. Together these restraints ensure that fans who wish to watch the
 7   majority of regular season NFL games, or any out-of-market NFL game, have only
 8   one option available to them—subscribing to the NFL Sunday Ticket package from
 9   a single provider. Id. ¶ 8. These restraints on competition result in supracompetitive
10   prices for NFL Sunday Ticket, reduced choice in the marketplace, and drastically
11   fewer games available to all consumers. Id. ¶¶ 10-12, 19. Plaintiffs seek upwards of
12   $6 billion in monetary damages. Dkt. 894 at 11.
13           On February 7, 2023, the Central District of California granted Plaintiffs’
14   motion to certify two classes—encompassing all residential and commercial
15   subscribers that purchased NFL Sunday Ticket between June 17, 2011 and the date
16   of the certification order. Dkt. 894. These certified classes seek injunctive relief
17   pursuant to Fed. R. Civ. P. 23(b)(2) and money damages pursuant to Fed. R. Civ. P.
18   23(b)(3). Id. at 25.
19           During the class period, the NFL sold the rights to Sunday Ticket exclusively
20   to DirecTV. On December 22, 2022, the NFL announced that it had reached a multi-
21   billion-dollar agreement with Google to distribute Sunday Ticket to residential
22   subscribers on YouTube TV. Beginning with the upcoming NFL season until the year
23   2030, NFL Sunday Ticket will be available exclusively on “Google-owned YouTube,
24   behind a subscription paywall.” Id. at 21.
25

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      All citations to the docket refer to the underlying litigation, In Re: National Football
     League’s “Sunday Ticket” Antitrust Litigation, No. 2:15-ml-02668-PSG (JEMx)
28   (C.D. Cal).
         PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF DOCUMENTS BY NON-PARTY GOOGLE LLC
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 1           Google and the NFL had not yet executed the now-operative Sunday Ticket
 2   agreement by August 5, 2022, the deadline for fact discovery. Plaintiffs therefore
 3   moved the MDL Court to allow them to take further discovery of the agreement and
 4   the negotiations after the discovery cutoff. In that motion, Plaintiffs sought leave to
 5   “conduct discovery from the NFL Defendants and the new third-party rightsholder
 6   after an agreement is finally reached,” and to conduct “a deposition of the new
 7   rightsholder, as contemplated by the parties’ prior agreements on deposition limits.”
 8   Dkt. 546-2 (emphasis added). On August 11, 2022, the MDL Court granted the
 9   requested relief and “modifie[d] the scheduling order to allow Plaintiffs to pursue
10   additional discovery relating to the following matters after the August 5, 2022 fact
11   discovery cut-off:
12         Document production related to NFL Defendants’ ongoing negotiations with
           third parties for the sale of the future rights to NFL Sunday Ticket, as well as
13         document and deposition discovery about the new NFL Sunday Ticket
           agreement once such a deal is finalized[.]
14   Dkt. 607 at 4.
15           Plaintiffs also sought additional discovery on these issues from the NFL. On
16   January 20, 2022, months before the fact discovery cut-off, Plaintiffs served a request
17   for production that sought: “All presentations, analyses, strategic planning
18   documents, and communications regarding the current negotiations for the rights to
19   Sunday Ticket from January 1, 2021 to the present day (and continuing in nature
20   pursuant to Rule 26(e)).” Finn Declaration ¶ 3. When the NFL refused to supplement
21   its earlier productions with documents responsive to that request, Plaintiffs moved
22   the MDL Court for an order requiring the NFL to do so. The MDL Court granted that
23   motion on September 12, 2022, overruling the NFL’s objections that discovery about
24   the new agreement was somehow irrelevant to the underlying antitrust case. Dkt. 645.
25   At the hearing, the MDL Court specifically stated that it would be “appropriate for
26   there to be discovery about both the agreement and about the negotiations with the
27   various parties involved.” Dkt. 613 at 17 (Hearing Transcript).
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        PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF DOCUMENTS BY NON-PARTY GOOGLE LLC
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 1           Pursuant to those orders, Plaintiffs subpoenaed Google—as well as several
 2   other third parties involved in the NFL’s negotiations—on March 30, 2023. Ex. 1.
 3   The subpoena to Google contained eleven requests, each of which focused on the
 4   discussions between Google and NFL about the distribution of NFL Sunday Ticket.
 5           Google submitted written responses and objections to that subpoena on April
 6   13, 2023. Ex. 2. Google registered a nearly identical set of objections to each of
 7   Plaintiffs’ eleven requests. These objections concerned the timeliness of the
 8   subpoena, the breadth of the documents sought, the relevance of the subject matters,
 9   the request for documents potentially in the custody of the NFL, and the disclosure
10   of competitively sensitive information. See id.
11           The parties began the meet-and-confer process shortly thereafter. In the
12   months that followed, Plaintiffs made various compromises in an attempt to narrow
13   the scope of the subpoena and minimize any burden on Google. First, Plaintiffs
14   agreed to exclude Google’s communications with the NFL, thereby reducing the
15   burden of collecting documents that would presumably be captured in the NFL’s
16   productions. Second, Plaintiffs agreed to narrow their proposal to Google’s internal
17   documents concerning: 1) the actual or proposed package characteristics of Sunday
18   Ticket; 2) the retail price of Sunday Ticket; 3) the number of subscribers to Sunday
19   Ticket; 4) restrictions imposed by the NFL’s licensing agreements with CBS/Fox; 5)
20   the valuation of Sunday-Ticket rights; and 6) the antitrust implications of the
21   arrangement. Finn Decl. ¶ 6.
22           On June 20, 2023, after multiple discussions between the parties, Google
23   agreed to produce three slideshow presentations that were responsive to the narrowed
24   topics. Id. ¶ 7. Plaintiffs agreed to defer any discussion of custodial searches until
25   after their review of Google’s production. Id. That would allow Plaintiffs to
26   determine whether supplementation was necessary.
27           Google produced three presentations on July 7, 2023,which redacted “certain
28   highly sensitive business information that is not responsive to the requests” according
        PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF DOCUMENTS BY NON-PARTY GOOGLE LLC
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 1   to Google. Id. ¶ 8. Each of the three presentations contained information that bears
 2   directly on the litigation:
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 6   Id.
 7            That production did not, however, provide information reflecting the various
 8   proposals or counterproposals that were exchanged between Google and the NFL on
 9   any of these various issues. Id. ¶ 9. Nor did it contain Google’s internal analyses of
10   any proposals or requirements provided by the NFL. In fact, none of the documents
11   produced by Google predate November 28, 2022. Id.
12

13                                   Id. ¶ 10.
14            On July 25, 2023, Plaintiffs wrote to Google to indicate their intent to pursue
15   custodial discovery on these issues. Id. ¶ 11. The parties conferred on July 28, 2023.
16   Plaintiffs explained the relevance of the internal documents to the litigation and that
17   internal notes and analyses of meetings between the parties, many of which were
18   conducted in-person or over-the-phone, would not be available from the NFL. Id.
19   ¶ 12. At Google’s request, Plaintiffs identified a narrow list of six custodians who
20   would likely possess relevant documents about the negotiations with the NFL. Id.
21   ¶ 13. On August 3, 2023, Google represented to Plaintiffs its position “that we have
22   produced documents responsive to the topics that you identified for us in earlier
23   conversations, and Google is not willing at this stage to produce anything further.”
24   Id. ¶ 14. The parties conferred again on August 4, 2023. Id. ¶ 15. Plaintiffs explained
25   that the limited custodial search proposed was the most efficient and least
26   burdensome method to collect the relevant documents. The parties conferred once
27   more on August 10, 2023 but were unable to reach an agreement. Id. Google refuses
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           PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF DOCUMENTS BY NON-PARTY GOOGLE LLC
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 1   to conduct any custodial searches in response to Plaintiffs’ subpoena. Yet Google has
 2   provided no explanation for that refusal. Id.
 3   III.    GOOGLE SHOULD PRODUCE DOCUMENTS CONCERNING ITS
             NEGOTIATIONS WITH THE NFL
 4

 5           A.      Legal Standard
 6           The scope of permissible discovery under a Rule 45 subpoena is the same as
 7   that under Rule 26—any matter that is relevant to a claim or defense and proportional
 8   to the needs of the case. E.g., Erickson v. Builder Advisor Grp. LLC, 2022 WL
 9   1265823, at *2 (N.D. Cal. Apr. 28, 2022). Rule 45 also incorporates Rule 26’s broad
10   definition of relevance, encompassing information that is “reasonably calculated to
11   lead to admissible evidence.” Gonzales v. Google, Inc., 234 F.R.D. 674, 679-80 (N.D.
12   Cal. 2006) (cleaned up). On a motion to compel discovery from a non-party, the
13   moving party must first demonstrate that the information requested is within the
14   scope of permissible discovery. In re: Subpoena to Apple Inc., 2014 WL 2798863, at
15   *2 (N.D. Cal. Jun 19, 2014). The burden then shifts to the party opposing discovery
16   to show “that the information is being sought to delay bringing the case to trial, to
17   embarrass or harass, is irrelevant or privileged, or that the person seeking discovery
18   fails to show need for the information.” Id. (cleaned up).
19           B.      The Requested Documents Are Relevant and Proportional
20           As a general matter, the MDL Court has already determined—in two separate
21   contexts—that discovery about the 2022 negotiations for the rights to Sunday Ticket
22   is relevant to the litigation and permissible. See Dkt. 645 (granting Plaintiffs’ motion
23   to compel documents on this subject from the NFL); Dkt. 607 (permitting discovery
24   about the negotiations after the August 5, 2022 fact discovery cutoff). The specific
25   discovery that Plaintiffs seek by this motion—documents reflecting or relating to any
26   proposals or counterproposals exchanged by Google and the NFL and internal
27   analyses of those proposals—bears directly on Plaintiffs’ antitrust claims against the
28   NFL and its Member Clubs.
        PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF DOCUMENTS BY NON-PARTY GOOGLE LLC
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 1           Plaintiffs’ core contention is that the NFL Defendants have conspired, and
 2   continue to conspire, to restrict the availability of telecasts of live NFL games. These
 3   restrictions take various forms. As relevant here, they include the requirement that
 4   Sunday Ticket be sold to fans at a high price, that it be sold only as a package of all
 5   out-of-market games without an option to purchase just the games of a single team
 6   or a single division, and that Sunday Ticket be licensed to a single exclusive provider.
 7   The purpose of each of these restrictions is to limit the number of subscribers to
 8   Sunday Ticket in order to protect the viewership of the Sunday Afternoon telecasts
 9   produced by Fox and CBS to local markets. The NFL Defendants benefit from these
10   restrictions because they allow the League to extract more in rights fees from their
11   broadcast partners. These restrictions harm class members by limiting the options in
12   the market for NFL telecasts and raising the price to access such games.
13           The NFL Defendants maintain that throughout the class period DirecTV had
14   unilateral discretion to set prices and determine package characteristics with no
15   limitation on subscriber numbers. Yet each one of above-cited restrictions has carried
16   over from the NFL-DirecTV agreement to the new arrangement with YouTube.
17   YouTube is selling Sunday Ticket for $349 per season, nearly $50 more than the
18   price charged by DirecTV. Like DirecTV, YouTube sells Sunday Ticket on an all-
19   or-nothing basis. The only package offered is the one that contains every out-of-
20   market game. The NFL-Google agreement contains provisions with the purpose and
21   effect of reducing the number of subscribers to Sunday Ticket:
22

23   And YouTube, like its predecessor DirecTV, is the exclusive provider of Sunday
24   Ticket to residential consumers in the United States.
25           Plaintiffs contend that the NFL Defendants required Google to agree to each
26   of the above restrictions—high price, low subscriber numbers, no package options—
27   as a condition of securing the rights to Sunday Ticket, just as they did with DirecTV.
28   Yet few of these restrictions are expressly provided by the agreement. For example,
        PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF DOCUMENTS BY NON-PARTY GOOGLE LLC
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 1   the NFL-Google agreement
 2

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 4                                     Discovery about the negotiation process between Google
 5   and the NFL on each of these subjects will tend to prove (or disprove) Plaintiffs’
 6   contention that the NFL exerts more control over the Sunday Ticket product than the
 7   contract indicates.
 8           Evidence that the NFL imposed restrictions on Google will support Plaintiffs’
 9   claims that the NFL imposed these same restraints on DirecTV during the class
10   period, to the detriment of consumers. This evidence is also relevant to injunctive
11   relief, which will directly impact the NFL-Google agreement. As the MDL Court
12   recognized in its class certification order, in which it referred specifically to the
13   YouTube contract, “the challenged conduct driving this antitrust case remains
14   ongoing…. An injunction would [] benefit the entire class because it would alleviate
15   the anticompetitive harm across the board for the football-viewing class members—
16   that is, an injunction would put an end to the alleged restraints on NFL football
17   telecasts that result in inflated market prices.” Dkt. 894 at 21. Evidence that the
18   challenged restrictions continue into the present day is directly relevant to Plaintiffs’
19   claims for injunctive relief. And the requested discovery is tailored to capture that
20   evidence.
21           The evidence sought is proportional to the needs of the case for the same
22   reasons. Billions of dollars of damages are at stake in this litigation, as is the viability
23   of a contract worth billions of dollars to both the NFL Defendants and Google.
24   Discovery as to Google’s negotiations with the NFL will be important in resolving a
25   key issue in that litigation—the degree of influence that the NFL over a Sunday
26   Ticket product that is ostensibly sold by a third-party. That issue bears directly on the
27   NFL Defendants’ liability.
28
        PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF DOCUMENTS BY NON-PARTY GOOGLE LLC
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 1           C.      The Benefits of Discovery Outweigh any Burden on Google
 2           The burden that Plaintiffs’ request would impose on Google—one of the
 3   largest and wealthiest corporations in the United States if not the world—pales in
 4   comparison to the likely benefit of the discovery. The relief sought in this motion is
 5   well within the bounds of Rule 26. See, e.g., Moon v. SCP Pool Corp., 232 F.R.D.
 6   633, 637 (C.D. Cal. 2005) (“[A]n evaluation of undue burden requires the court to
 7   weigh the burden to the subpoenaed party against the value of the information to the
 8   serving party … [and] such factors as relevance, the need of the party for the
 9   documents, the breadth of the document request, the time period covered by it, the
10   particularity with which the documents are described, and the burden imposed.”
11   (cleaned up)).
12           Plaintiffs’ request is modest in scope. Plaintiffs seek to conduct electronic
13   searches of only six Google employees who had direct involvement in the
14   negotiations with the NFL. Plaintiffs identified these individuals from their review
15   of communications produced by the NFL. The documents requested from Google
16   span a limited
17                                            until December 21, 2022 when the Sunday Ticket
18   agreement was executed. Within that span, Plaintiffs seek only Google’s internal
19   discussions about the various proposals and counterproposals exchanged with the
20   NFL. Plaintiffs have thus tailored their requests to exclude any documents that are in
21   the possession of the NFL Defendants.
22           Plaintiffs seek these documents from Google because, as the NFL Defendants
23   represented to the MDL Court, many of the conversations between the League and
24   third parties like Google were oral. See Dkt. 913-1 at 8 of 41 (“as evident from the
25   produced documents, much of the negotiations were handled in person or
26   telephonically, as would be expected in connection with a deal of this magnitude”).
27   As a result, the NFL Defendants have produced few, if any, documents about the
28   extra-contractual restrictions that they imposed on Google. Evidence of Google’s
        PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF DOCUMENTS BY NON-PARTY GOOGLE LLC
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 1   negotiations with the NFL on the requested issues are thus unavailable by other
 2   means. It is for that reason that Plaintiffs served the subpoena and bring this motion.
 3           Moreover, the custodial searches requested in this motion are the only efficient
 4   method of collecting these documents. Despite their best efforts, neither Plaintiffs
 5   nor Google were able to formulate an alternative method during the meet-and-confer
 6   process. Because Plaintiffs have further narrowed their requests to a handful of
 7   discrete topics—retail pricing, subscriber numbers, package characteristics, and
 8   rights fees—the task of formulating search terms to capture responsive documents
 9   should not be onerous.
10           D.      There Are No Concerns about Commercial Sensitivity
11           Nor does Plaintiffs’ request require Google to “disclos[e] a trade secret or other
12   confidential research, development, or commercial information,” Fed. R. Civ. P.
13   45(d)(3)(B)(i). The requested documents relate to past negotiations with the NFL
14   over a deal that has already been enshrined into a multi-year agreement. Any
15   concerns of commercial sensitivity diminished when those negotiations concluded.
16   The rights to Sunday Ticket are no longer on the market. There is thus no reason to
17   believe that disclosure of Google’s discussions and analyses of proposed terms would
18   cause the company competitive harm.
19           Even if such a concern did exist, it would be mitigated by the two protective
20   orders operative in the litigation. The supplemental protective order creates a
21   “HIGHLY CONFIDENTIAL/COMMERCIALLY SENSITIVE DESIGNATION”
22   that limits disclosure of “sensitive material implicated in the negotiation and
23   execution of licensing agreements with the NFL” to outside counsel, experts,
24   vendors, and court personnel. Dkt. 422 at 2. Importantly, that order prevents
25   disclosure of such information to “any outside counsel in this litigation who has any
26   responsibility for advising any person regarding the negotiation or execution of
27   affiliation agreements or licensing agreements with the NFL.” Id. at 3. In other words,
28   no documents produced by Google will be disclosed to any NFL personnel or to any
        PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF DOCUMENTS BY NON-PARTY GOOGLE LLC
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 1   NFL attorneys involved in transactional matters that affect Google’s business
 2   interests.
 3           Even if the requested documents did constitute “confidential … commercial
 4   information” within the meaning of Rule 45(d)(3)(B), Plaintiffs have a substantial
 5   need for the documents that cannot otherwise be met. As discussed above, whether
 6   and to what extent the NFL plays a role in setting the retail price of Sunday Ticket is
 7   a hotly disputed issue in this case, bearing directly on liability and the issue of
 8   antitrust standing. The discovery from Google is therefore “relevant and essential to
 9   a judicial determination of [Plaintiffs’] case” within the meaning of Rule 45,
10   Gonzales, 234 F.R.D. at 685.
11           E.      The Subpoena Is Timely
12           Lastly, any objections about the timeliness of Plaintiffs’ subpoena are
13   meritless. On August 11, 2022, the MDL Court granted Plaintiffs’ motion to take
14   additional discovery concerning the Sunday-Ticket negotiations after the August 5,
15   2022 close of fact discovery. Dkt. 607 at 4. In that motion, Plaintiffs specifically
16   requested “to conduct discovery from the NFL Defendants and the new third-party
17   rightsholder after an agreement is finally reached.” Dkt. 546-2 (emphasis added).
18   The MDL Court granted the motion without any limitation. In fact, the MDL Court
19   specifically authorized “[d]ocument production related to NFL Defendants’ ongoing
20   negotiations with third parties for the sale of the future rights to NFL Sunday Ticket.”
21   Dkt. 607 at 4.
22   IV.     IN THE ALTERNATIVE, THE COURT SHOULD TRANSFER THIS
             MOTION TO THE CENTRAL DISTRICT OF CALIFORNIA
23
             A.      Legal Standard
24
             “When the court where compliance is required did not issue the subpoena, it
25
     may transfer a motion under this rule to the issuing court if the person subject to the
26
     subpoena consents or if the court finds exceptional circumstances.” Fed. R. Civ. P.
27
     45(f). Further, courts consider “a number of factors relating to the underlying
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 1   litigation including the complexity, procedural posture, duration of pendency, and
 2   the nature of the issues pending before, or already resolved by, the issuing court in
 3   the underlying litigation.” Dr. Muhammad Mirza and Allied Med. and Diagnostic
 4   Servs., LLC, v. Yelp, Inc., 2021 WL 2939922, at *2–3 (N.D. Cal. July 13, 2021)
 5   (cleaned up). Transfer is appropriate when doing so would “avoid disrupting the
 6   issuing court's management of the underlying litigation, as when that court has
 7   already ruled on issues presented by the motion” and where “such interests outweigh
 8   the interests of the nonparty served with the subpoena in obtaining local resolution
 9   of the motion.” Moon Mountain Farms, LLC v. Rural Cmty. Ins. Co., 301 F.R.D. 426,
10   428 (N.D. Cal. 2014) (quoting Fed. R. Civ. P. 45 advisory committee’s note).
11           B.      Exceptional Circumstances Justify Transfer
12           Pursuant to this standard, there are numerous reasons why the MDL Court is
13   best positioned to adjudicate this motion in the context of the underlying litigation.
14   This multi-district litigation was assigned to the Central District of California in
15   2015. Since that time, the MDL Court has developed deep familiarity with the issues
16   in this case—ruling on a motion to dismiss and more recently certifying two classes
17   based on a “a rigorous assessment of the available evidence.” Dkt. 894 at 15.
18           Moreover, the MDL Court has already resolved issues that are material to the
19   instant motion: the relevance of the new Sunday Ticket agreement to Plaintiffs’
20   antitrust claims and the proper scope of that discovery. In the past 13 months, the
21   Court has adjudicated three motions on that very subject. See Dkt. 607 (granting
22   motion to take limited discovery after the fact-discovery deadline); Dkt. 645
23   (granting motion to compel production of documents by the NFL Defendants); Dkt.
24   938 (same). The MDL Court’s familiarity with the specific issues involved warrants
25   transfer. See 3B Med., Inc. v. Resmed Corp., 2016 WL 6818953, at *3 (S.D. Cal. Oct.
26   11, 2016) (“Because the Middle District of Florida is in a better position to rule on
27   these motions based on its familiarity with the issues involved, the Court finds
28   exceptional circumstances exist and that transfer is permitted under Rule 45.”).
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 1           The MDL Court likewise has more ready access to information necessary to
 2   resolve Google’s objection that the information sought in the subpoena can be
 3   obtained from the NFL Defendants. See In re All. Healthcare Partners, LLC, 2022
 4   WL 16527952, at *5 (D. Ariz. Oct. 28, 2022) (finding issuing court better situated to
 5   “confirm that the information sought from [the third party] is not duplicative”).
 6   Google’s principal arguments related to burden, that the requested documents are
 7   obtainable from parties to the underlying litigation, involves information that is in
 8   the possession of the MDL Court, which has issued several orders compelling the
 9   NFL to produce discovery on the subject.
10           Finally, litigating this matter in the Central District of California imposes little
11   burden on Google. Litigating in the Central District of California should not impose
12   any burden on Google. Google is one of the world’s largest companies. Its lead
13   counsel on this matter is based in Washington, DC. Document production—which
14   Google has already provided to Plaintiffs in limited fashion—is conducted
15   electronically. And the Magistrate Judge in the MDL Court, to whom all discovery
16   matters have been designated, generally holds remote hearings. See Dkt. 394, 599,
17   723. That fact further supports transfer. See In re All. Healthcare Partners, 2022 WL
18   16527952, at *6 (citing remote hearings as a factor favoring transfer). Google would
19   still have the benefit of “the application of Ninth Circuit authority on the merits of its
20   motion.” In re Welding Rod Prods. Liab. Litig., 406 F. Supp. 2d 1064, 1067-68 (N.D.
21   Cal. 2005) (granting motion to transfer motion to quash subpoena to MDL court). In
22   sum, there is no practical difference to litigating this matter in the Northern District
23   of California as opposed to the Central District of California. And any such difference
24   would be outweighed by the MDL Court’s interest in resolving matters with which it
25   has developed significant expertise, and which bear on the merits of a multi-district
26   litigation that it has managed for more than eight years.
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 1   V.      CONCLUSION
 2           For the foregoing reasons, the Court should grant Plaintiffs’ motion, enter its
 3   proposed Order, and compel Google to provide the venue discovery without further
 4   delay. In the alternative, the Court should promptly transfer this Motion to the MDL
 5   Court in the Central District of California.
 6
          Dated: August 21, 2023              Respectfully submitted,
 7

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